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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF INDIANA
                               FORT WAYNE DIVISION

IN RE                                                      )   Chapter 7
                                                           )
BETTY JO SCHAEFER                                          )   CASE NO. 18-10519-reg
                                                           )
                             Debtor(s)                     )
                                                           )

              ORDER APPROVING MOTION TO SUBSTITUTE COUNSEL

        This matter came before the Court on the Motion of Feiwell & Hannoy, P.C., to

substitute the appearance of Randy C. Eyster for that of Susan M. Woolley as counsel for

JPMorgan Chase Bank, National Association. And the Court, being duly advised and noting the

request;

        The Motion to Substitute Counsel is GRANTED.



        SO ORDERED THIS ________ DAY OF _________________, 2018.



                                    ______________________________
                                    ROBERT E. GRANT, JUDGE
                                    UNITED STATES BANKRUPTCY COURT
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                                                 /s/ SUSAN M WOOLLEY
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                                                 15000-64
